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      Supervising Deputy Attorney General
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       E-mail: John.Echeverria@doj.ca.gov
  7   Attorneys for Defendant
  8                      IN THE UNITED STATES DISTRICT COURT
  9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
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12
      R. J. BEABER, et al.,                        Case No. 2:21-cv-6558-MWF-(KSx)
13
                                      Plaintiffs, NOTICE OF APPEARANCE
14
                   v.
15
16    SHIRLEY N. WEBER, as California
      Secretary of State,
17
                                    Defendant.
18
19
           The California Attorney General, counsel for defendant Shirley N. Weber, in
20
      her official capacity as the California Secretary of State (“Defendant”), hereby files
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      this Notice of Appearance to inform the Court of assigned counsel for Defendant in
22
      this proceeding.
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  1        Defendant hereby notifies the Court that the attorney with principal charge of
  2   the case is as follows:
  3        John D. Echeverria
           Deputy Attorney General
  4        Office of the Attorney General
           455 Golden Gate Avenue, Suite 11000
  5        San Francisco, CA 94102-7004
           Telephone: (415) 510-3479
  6        E-mail: John.Echeverria@doj.ca.gov
  7   Dated: August 17, 2021                       Respectfully submitted,
  8                                                ROB BONTA
                                                   Attorney General of California
  9                                                HEATHER B. HOESTEREY
                                                   Supervising Deputy Attorney General
10
11
                                                   /s/ John D. Echeverria
12                                                 JOHN D. ECHEVERRIA
                                                   Deputy Attorney General
13                                                 Attorneys for Defendant
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                                  CERTIFICATE OF SERVICE
Case Name:          R. J. Beaber et al. v. Shirley N.     No.      2:21-cv-6558-MWF-(KSx)
                    Weber

I hereby certify that on August 17, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
                                      NOTICE OF APPEARANCE
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on August 17,
2021, at San Francisco, California.



                John D. Echeverria                              /s/ John D. Echeverria
                    Declarant                                          Signature

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